Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 1
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 2
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 3
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 4
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 5
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 6
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 7
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 8
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 9
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 10
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 11
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 12
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 13
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 14
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 15
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 16
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 17
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 18
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 19
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 20
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 21
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 22
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 23
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 24
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 25
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 26
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 27
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 28
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 29
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 30
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 31
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 32
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 33
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 34
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 35
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 36
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 37
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 38
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 39
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 40
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 41
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 42
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 43
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 44
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 45
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 46
                                    of 47
Case No. 1:06-cv-01872-RPM-MEH Document 28-10 filed 01/14/08 USDC Colorado pg 47
                                    of 47
